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                     IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF HAWAII

    LYNN BROOKS, ET AL.                        ) CIVIL NO. 19-00219 JMS-WRP
                                               )
               Plaintiffs,                     ) STIPULATED PROTECTIVE
                                               ) ORDER; EXHIBIT “A”
         v.                                    )
                                               )
    JOE GREEN, ET AL.,                         )
                                               )
               Defendants.                     )
                                               )

                        STIPULATED PROTECTIVE ORDER

   IT IS HEREBY STIPULATED AND AGREED by and between Plaintiffs LYNN

   BROOKS, Individually and as Personal Representative of the Estate of Howard

   Weldon, deceased, and ANDREW WELDON (“Plaintiffs”) and Defendants JOE

   GREEN, SURF N’ SEA, INC., a Hawaiian Corporation, and JUAN “ADRIAN”

   RAMIREZ (“Defendants”), the parties in this action (collectively, “Parties”),

   pursuant to Rule 26(c) of the Federal Rules of Civil Procedure (“FRCP”) that

   discovery of records containing personal, financial and/or confidential information,

   including (but not limited to) health, medical, mental health, financial and
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   employment records related to Plaintiff and Defendant will be subject to the

   following stipulation:


                                      RECITALS

   WHEREAS, the Parties have each requested certain records containing personal

   and/or confidential information; and,

   WHEREAS, the Parties recognize that such records may be necessary in the

   prosecution and/or defense of the civil action; and,

   WHEREAS, this Stipulated Protective Order (“Order”) shall be strictly construed in

   favor of public disclosure and open proceedings wherever possible.

   IT IS HEREBY STIPULATED as follows:

      1. Any and all records produced to the Parties will be done upon the following

          conditions:

              a. The Parties will designate documents as confidential and restricted in

                 disclosure under this Order by placing or affixing the words

                 “CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER” on the

                 document in a manner that will not interfere with the legibility of the

                 document. Documents shall be designated “CONFIDENTIAL -

                 SUBJECT TO PROTECTIVE ORDER” prior to or at the time of the

                 production or disclosure of the documents. The designation

                 “CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER” is not


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                 dispositive of whether the document has any status or protection by

                 statute or otherwise except to the extent and for the purposes of this

                 Order.

              b. Documents designated “CONFIDENTIAL - SUBJECT TO

                 PROTECTIVE ORDER” under this Order shall not be used or

                 disclosed by the Parties, counsel for the Parties or any other persons

                 identified in ¶ 1(c) for any purpose whatsoever other than to prepare

                 for and to conduct discovery, to draft or oppose motions, other filings

                 and pre-trial submissions and for trial in this action, including any

                 appeal thereof.

              c. The Parties and counsel for the Parties shall not disclose or permit the

                 disclosure of any “CONFIDENTIAL – SUBJECT TO PROTECTIVE

                 ORDER” documents to any third person or entity, including the

                 media, except as set forth in subparagraphs c(1-6). Subject to these

                 requirements, the following categories of persons may be allowed to

                 review documents that have been designated “CONFIDENTIAL -

                 SUBJECT TO PROTECTIVE ORDER”:

                 1) Plaintiffs and Defendants and their Counsel in this action;

                 2) paralegal, stenographic, clerical, and secretarial personnel

                     regularly employed by counsel in this action;




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                 3) court personnel including stenographic reporters engaged in

                     proceedings that are related to preparation for trial in this action;

                 4) witnesses who may have “CONFIDENTIAL – SUBJECT TO

                     PROTECTIVE ORDER” material disclosed to them during

                     deposition proceedings where necessary and related to preparation

                     for trial in this action, but such witnesses will not be allowed to

                     leave the deposition with copies of the material;

                 5) consultants, investigators, or experts (collectively, “experts”)

                     employed by the Parties or counsel for the Parties to assist in the

                     preparation and trial of this action or proceeding, but only after

                     such persons have been provided with a copy of this Order and

                     have signed the Confidentiality Agreement, attached hereto as

                     Exhibit “A”; and

                 6) other persons only by written consent of the producing party or

                     upon order of the Court and on such conditions as may be agreed

                     or ordered. All such persons shall be provided with a copy of this

                     Order and shall sign the Confidentiality Agreement, attached

                     hereto as Exhibit “A.”

              d. Counsel for the Parties shall take reasonable and appropriate measures

                 to prevent unauthorized disclosure of documents designated as




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                 “CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER”

                 pursuant to the terms of this Order.

              e. Prior to production to another party, all copies, electronic images,

                 duplicates, extracts, summaries or descriptions (hereinafter referred to

                 collectively as “copies”) of documents designated as

                 “CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER” under

                 this Order, or any individual portion of such a document, shall be

                 affixed with the designation “CONFIDENTIAL - SUBJECT TO

                 PROTECTIVE ORDER” if the word does not already appear on the

                 copy. All such copies shall thereafter be entitled to the protection of

                 this Order. The term “copies” shall not include indices, electronic

                 databases or lists of documents provided these indices, electronic

                 databases or lists do not contain substantial portions or images of the

                 text of confidential documents or otherwise disclose the substance of

                 the confidential information contained in those documents.

              f. If any party seeks to attach any document(s) designated

                 CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER to any

                 motion, opposition, reply, or other publicly filed document, that party

                 shall seek leave of court to file such documents under seal pursuant to

                 LR 83.12. Notwithstanding any agreement among the parties, the

                 party seeking to file a paper under seal bears the burden of

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                 overcoming the presumption in favor of public access to papers filed

                 in court.

              g. Inadvertent production of any document or information without a

                 designation of “CONFIDENTIAL - SUBJECT TO PROTECTIVE

                 ORDER” shall be governed by F.R.E. 502(b).

              h. At the conclusion of the trial and any appeal or other termination of

                 this litigation all “CONFIDENTIAL – SUBJECT TO PROTECTIVE

                 ORDER” material received under this stipulation, and any copies

                 made thereof, will be returned to counsel for the producing party, or

                 destroyed within 30 days of the resolution of the litigation, with

                 written representation of such destruction provided to the producing

                 party.

      2. Any “CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER”

          designation is subject to challenge by any party or non-party with standing

          to object. If a party contends that any material is not entitled to confidential

          treatment, such party or non-party may at any time give written notice to the

          party or non-party who designated the material. The party or non-party who

          designated the material shall have twenty-five (25) days from the receipt of

          such written notice to apply to the Court for an order designating the

          material as confidential. The party or non-party seeking the order has the

          burden of establishing that the document is entitled to protection.

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          Notwithstanding any challenge to the designation of material as confidential,

          all documents shall be treated as such and subject to the provisions hereof

          unless and until one of the following occurs:

              a. the party or non-party who claims that the material is confidential

                 withdraws such designation in writing; or

              b. the party or non-party who claims the material is confidential fails to

                 apply to the Court for an order designating the material as confidential

                 within the time period specified above after receipt of a written

                 challenge to such designation; or

              c. the Court rules the material is not confidential.

              Before filing an application with the Court seeking an order that the

      material is confidential, the applying party or non-party shall have an obligation

      to meet and confer in a good faith effort to resolve the objection by agreement.

      If agreement is reached confirming or waiving the “CONFIDENTIAL –

      SUBJECT TO PROTECTIVE ORDER” designation as to any documents in

      such dispute, the designating party shall serve on all parties a notice specifying

      the documents and the nature of the agreement.

      3. Applications to the Court for an order relating to any documents designated

          “CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER” shall be by

          motion and any other procedures set forth in the presiding judge’s standing

          orders and/or the Local Rules of this Court. Nothing in this Order or any

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          action or agreement of a party under this Order limits the Court’s power to

          make any orders that may be appropriate with respect to the use and

          disclosure of any documents produced or used in discovery or at trial.

      4. The terms of this Order do not preclude, limit, restrict, or otherwise apply to

          the use of documents at trial. If a party intends to present at trial

          “CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER” documents or

          information derived therefrom, such party shall (a) provide advance notice to

          the other Parties by identifying the documents or information at issue as

          specifically as possible (by Bates number, page range, deposition transcript

          lines, etc.) without divulging the actual “CONFIDENTIAL - SUBJECT TO

          PROTECTIVE ORDER” documents or information on that party’s Exhibit

          List to be exchanged on the date for pre-marking and exchange of exhibits

          set forth in the Rule 16 Scheduling Order (ECF No. 33) entered herein July

          22, 2019, as amended.

      5. This Order shall be subject to modification by the Court on its own motion

          or on motion of a party or any other person with standing concerning the

          subject matter. Motions to modify this Order shall be served and filed and

          the presiding judge’s standing orders or other relevant orders.




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   DATED: August 27, 2019.

   /s/ John T. O’Connell
   JOHN T. O’CONNELL, ESQ.
   Attorney for Plaintiffs
   LYNN BROOKS, Individually and as Personal Representative for the Estate of
   Howard Weldon, Deceased, and ANDREW WELDON


   DATED: August 27, 2019.                 DATED: August 27, 2019

   /s/ Gary Grimmer                        /s/ Normand R. Lezy
   GARY GRIMMER, ESQ.                      NORMAND R. LEZY, ESQ.
   ANN CORREA, ESQ.                        MICHAEL J. NAKANO, ESQ.
   Attorneys for Defendants                JAMIE C. S. MADRIAGA, ESQ.
   JOE GREEN and SURF N’ SEA, INC.         Attorneys for Defendant
                                           JUAN “ADRIAN” RAMIREZ


          APPROVED AND SO ORDERED.

          DATED, HONOLULU, HAWAII, AUGUST 27, 2019.




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   PROTECTIVE ORDER




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                                    EXHIBIT “A”

                                  CERTIFICATION

        I hereby certify my understanding that Confidential Information is being

 provided to me pursuant to the terms and restrictions of the Stipulated Protective

 Order dated August 27, 2019 in Brooks v. Green, et al., Civil No. 19-00219 JMS-

 WRP that I have been given a copy of that Order and read it. I agree to be bound

 by the Order. I will not reveal the Confidential Information to anyone, except as

 allowed by the Order. I will maintain all such Confidential Information - including

 copies, notes, or other transcriptions made therefrom - in a secure manner to

 prevent unauthorized access to it. No later than thirty (30) days after the conclusion

 of this action, I will return the Confidential Information - including copies, notes or

 other transcriptions made therefrom - to the counsel who provided me with the

 Confidential Information. I hereby consent to the jurisdiction of the United States

 District Court for the purpose of enforcing the Protective Order.

 DATED:

 Print Name: ________________________




                               END OF EXHIBIT “A”




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